The plaintiffs brought this action for possession of a lot of land, 20 by 314 feet, in the defendant town, which was covered by a street, with the usual allegations of title and wrongful holding by the defendant.
These allegations were denied, and the defendant further averred that the locus had been dedicated to the town as a street in 1885 *Page 266 
by the plaintiff's grantor, who conveyed to plaintiff in 1888, the street then being laid out and in use by the town and the public. The issue submitted without objection was whether the lot in controversy had been dedicated to the use of the town as a public street, to which the jury responded "Yes." The evidence as to the dedication was conflicting. The defendant introduced evidence showing that the street was laid out, opened and accepted by the defendant and it had been in use since 1885, and that plaintiff's grantor declined to accept any damages when the street was laid out.
The defendant offered in evidence a town map showing the (389) new street and another street. Plaintiffs objected to the introduction of the map in evidence, which objection was overruled, and defendant excepted. Neither the record nor the "case" shows for what purpose the map was introduced, nor on what ground the objection was placed. A survey for the owner's convenience is not admissible evidence for him or those claiming under him. Jones v. Huggins,12 N.C. 233. But it is competent to explain the testimony of the witness and to enable the jury to understand it. So with diagrams and plats. Dobsonv. Whisenhunt, 101 N.C. 645; S. v. Whiteacre, 98 N.C. 753. As we are not informed for what purpose the map was introduced, we must assume that it was in explanation of the preceding evidence, and not for locating the lot, as that was specifically done by the complaint.
The plaintiffs after verdict moved for judgment non obstante veredicto. This could not be allowed unless the cause of action had been admitted and the plea of avoidance had been found insufficient. The facts are otherwise in this case. Moye v. Petway, 76 N.C. 327; Walker v. Scott, 106 N.C. 62.
No error.
Cited: Hampton v. R. R., 120 N.C. 537; Andrews v. Jones, 122 N.C. 667;Arrowood v. R. R., 126 N.C. 630; S. v. Wilcox, 132 N.C. 1135; S.v. Harrison, 145 N.C. 411; Britt v. R. R., 148 N.C. 39; Shives v.Cotton Mills, 151 N.C. 291; Baxter v. Irvin, 158 N.C. 279; Todd v.Mackie, 160 N.C. 357; S. v. Rogers, 168 N.C. 114. *Page 267 
(390)